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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times Regular" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;CENTER&gt;NO. 03-&lt;A NAME="1"&gt;01&lt;/A&gt;-00&lt;A NAME="2"&gt;071&lt;/A&gt;-CR&lt;/CENTER&gt;


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&lt;CENTER&gt;&lt;A NAME="3"&gt;Ramon Salazar&lt;/A&gt;, Appellant&lt;/CENTER&gt;


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&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

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&lt;SPAN STYLE="font-family: CG Times Regular" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TOM GREEN&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;51ST&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;A-94-0484-S&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;CURT F. STEIB&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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Ramon Salazar was convicted of murder in the above-referenced cause.  His
conviction was affirmed by this Court in a judgment that is now final.  &lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;EM&gt;See Salazar v. State&lt;/EM&gt;, No.
03-96-00016-CR (Tex. App.--Austin 1997, no pet.) (not designated for publication).  On January
22, 2001, Salazar filed a motion in the district court asking for an evidentiary hearing to offer
proof of facts pursuant to code of criminal procedure article 40.001.  Tex. Code Crim. Proc. Ann.
art. 40.001 (West Supp. 2001).  The court refused to conduct the requested hearing and Salazar
gave notice of appeal.&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Article 40.001 authorizes a new trial on the ground of newly discovered material
evidence.  A motion for new trial must be filed no later than thirty days after sentencing.  Tex.
R. App. P. 21.4(a).  Appellant's motion was untimely and the district court properly concluded
that it did not have jurisdiction to act.  At this point, Salazar must apply for a post-conviction writ
of habeas corpus pursuant to article 11.07.  &lt;EM&gt;See&lt;/EM&gt; Tex. Code Crim. Proc. Ann. art. 11.07 (West
Supp. 2001).  All pending motions are overruled.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;The district court's order is affirmed.&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;				__________________________________________&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;				Marilyn Aboussie, Chief Justice&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Affirmed&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Filed:   March 29, 2001&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

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